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                                                          (SPACE BELOW FOR FILING STAMP ONLY)
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 5   Attorney for DEFENDANT, LORITA MARIE ROCHA
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 8
                          IN THE UNITED STATES DISTRICT COURT
 9
                                EASTERN DISTRICT OF CALIFORNIA
10                                         ******
11   UNITED STATES OF AMERICA,                    CASE NO. 1:16-CR-00001 LJO-SKO

12                                 Plaintiff,     STIPULATION AND ORDER TO
                                                  CONTINUE SENTENCING HEARING
13                         v.
                                                  Sentencing Hearing: November 6, 2017
14   LORITA MARIE ROCHA,                          Time: 8:30 a.m.
                                                  Courtroom 4
15                                Defendant.      Hon. Lawrence J. O’Neill

16

17         WHEREAS the Sentencing Hearing has been scheduled in this matter for
18   November 6, 2017.
19
           WHEREAS Roger S. Bonakdar, counsel for Defendant Lorita Marie Rocha
20
     requests additional time to meet with Probation Officer Mr. Micheli and Ms. Rocha to
21
     prepare the Presentence Investigation Report.
22
           WHEREAS the purpose of Mr. Bonakdar’s request to meet with Ms. Rocha is to
23
     provide probation with information concerning Mr. Rocha that bears directly on
24

25   Probation's recommendation relative to sentencing.

26         WHEREAS counsel for Ms. Rocha has been informed that Ms. Rocha is

27   currently pregnant, and this new information concerning Ms. Rocha bears directly on

28   Probation’s recommendation relative to sentencing herein (i.e., recommendation of
                                            1
                   STIPULATION TO CONTINUE SENTENCING HEARING; ORDER
     Case 1:16-cr-00001-LJO-SKO Document 40 Filed 09/15/17 Page 2 of 3
     custody time vs. in-home monitoring, etc.) Therefore, counsel for Ms. Rocha requires
 1
     further time regarding this new development, to meet with Ms. Rocha and determine
 2

 3   how this matter will affect Sentencing of Ms. Rocha herein.

 4          WHEREFORE, in light of this new development, Attorney for Ms. Rocha herein

 5   requests that the Sentencing Hearing should be rescheduled to allow adequate time

 6   for Attorney Bonakdar to meet with Ms. Rocha to assess her health and pregnancy
 7   situation, and to meet with Probation regarding the same.
 8
            THEREFORE, IT IS STIPULATED by and between the parties that the
 9
     November 6, 2017, Sentencing hearing be continued for not less than 90 days from
10
     the November 6, 2017, Sentencing hearing.
11
            IT IS SO STIPULATED:
12
     Dated: September 14, 2017                      BENJAMIN B. WAGNER
13                                                  United States Attorney
14                                             By: /s/Henry Z. Carbajal III
                                                   HENRY Z. CARBAJAL III
15                                                 Assistant United States Attorney
16

17
     Date: September 14, 2017                       UNITED STATES PROBATION
18

19                                                  /s/ Ross Micheli
                                                    Ross Micheli
20                                                  United States Probation Officer

21
     Dated: September 14, 2017                      BONAKDAR LAW FIRM
22
                                                By: /s/ Roger S. Bonakdar
23                                                  ROGER S. BONAKDAR
                                                    Attorney for Defendant
24                                                  LORITA MARIE ROCHA

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                   STIPULATION TO CONTINUE SENTENCING HEARING; ORDER
     Case 1:16-cr-00001-LJO-SKO Document 40 Filed 09/15/17 Page 3 of 3
                                           ORDER
 1         The Stipulation to Continue Sentencing Hearing having come before this Court
 2
     and good cause appearing therefore;
 3
           IT IS HEREBY ORDERED that the November 6, 2017, Sentencing hearing is
 4
     hereby continued to February 5, 2018 at 8:30 a.m.
 5
           IT IS FURTHER ORDERED that the deadline for Defendant to file his
 6
     Sentencing Memorandum shall be extended to coincide with the continued Sentencing
 7
     Hearing date.
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     IT IS SO ORDERED.
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        Dated:   September 15, 2017                 /s/ Lawrence J. O’Neill _____
11                                          UNITED STATES CHIEF DISTRICT JUDGE
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                     STIPULATION TO CONTINUE SENTENCING HEARING; ORDER
